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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

ALDARESS CARTER, et al.,                                      )
                                                              )
       Plaintiffs,                                            )      CASE NO.:
                                                              )
v.                                                            )      2:15-cv-555 (RCL)
                                                              )
THE CITY OF MONTGOMERY, ALABAMA,                              )
et al.,                                                       )
                                                              )
       Defendants.                                            )


                        MOTION FOR ADMISSION PRO HAC VICE

       Under Rule 83.1 of the Local Rules of this Court, G. Daniel Evans, a member in good

standing of the bar of this Court, moves for the admission pro hac vice of John He as additional

counsel for Plaintiffs. In support of this motion, Mr. Evans states as follows:

           1. John He is a graduate of the University of Michigan Law School and is an attorney

at Public Justice, 475 14th Street, Suite 610, Oakland CA 94612. His phone number is (510) 622-

8150 and his email address is jhe@publicjustice.net. Mr. He is a member in good standing of the

State Bar of California (Bar No. 328382). He is also admitted to practice in federal court before

the Northern District of California.

           2. Mr. He agrees to be bound by the local rules of this Court, to comport himself in

accordance with the Alabama Rules of Professional Responsibility, and to the extent not

inconsistent with the preceding, to adhere to the American Bar Association Model Rules of

Professional Conduct.

           3. A recent Certificate of Good Standing from the United States District Court for the

Northern District of California is attached to this motion as Exhibit 1.
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                4. The $75 pro hac vice admission fee will be sent to the Office of the Clerk of the

Middle District of Alabama by mail, along with an ECF-stamped copy of this motion, immediately

after filing.


        Respectfully submitted on January 22, 2021.



                                                          s/ G. Daniel Evans
                                                          G. Daniel Evans
                                                          ASB-1661-N76G
                                                          Alexandria Parrish
                                                          ASB-2477-D66P
                                                          Maurine C. Evans
                                                          ASB-4168-P16T
                                                          Attorney for the Plaintiffs
                                                          The Evans Law Firm, P.C.
                                                          1736 Oxmoor Road, Suite 101
                                                          Birmingham, Alabama 35209
                                                          Telephone: (205) 870-1970
                                                          Fax: (205) 870-7763
                                                          E-Mail: ap@evanslawpc.com
                                                          E-Mail: gdevans@evanslawpc.com




                                    CERTIFICATE OF SERVICE

        I hereby certify that on January 22, 2021, I electronically filed the foregoing Motion for

Admission Pro Hac Vice with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to the following:


Larry S. Logsdon
Michael L. Jackson
Wesley K. Winborn
WALLACE, JORDAN, RATLIFF &
BRANDT, LLC
P.O. Box 530910
Birmingham, AL 35253

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Micheal S. Jackson
WEBSTER, HENRY, LYONS, BRADWELL,
COHAN & SPEAGLE, P.C.
P. O. Box 239
Montgomery, AL 36101-0239

Shannon Holliday
Robert D. Segall
Richard H. Gill
COPELAND, FRANCO, SCREWS & GILL
P. O. Box 347
Montgomery, AL 36101-0347

Wilson F. Green
Fleenor & Green LLP
1657 McFarland Blvd. N., Ste. G2A
Tuscaloosa, Alabama 35406



                                           s/ G. Daniel Evans
                                           G. Daniel Evans




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         United States District Court
        Northern District of California
CERTIFICATE OF GOOD STANDING
                       It is hereby certified that


                       John C. He
                        Bar Number 328382

  was duly admitted to practice in this Court on October 14, 2020,
   and is in good standing as a member of the bar of this Court.


                                 Signed on October 26, 2020 by


                                 Susan Y. Soong, Clerk of Court
